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Progress Note Report                                                                                                      09/04/2023
                                                                                                                             4:42 pm
For Client ID: 167,946 - Byers, Charles
For Recorded Service Dates of : 07/05/2023 - 07/06/2023

 Date/Time:            07/05/2023 11:34PM                                 Duration:        60
 Service:       RBHA Prescreen                                                          Service Status:     ECO
 Delivery Method:      Individual Present
 Electronically Signed by:         Sauder, Julia, LCSW
                 Provider OID:     67D0864D5B104C93BBC6C8F80225D1A6                                   07/05/2023


Narrative:
 Lt. Waite from RPD called to say he had to put this client on an ECO after he wandered away from
 the waiting room. It is not exactly like he was trying to leave the hospital because he walked past
 two exits and was found deep in the halls of the hospital. It appears that he gets confused.
 The interview took place face to face and I spoke with his mom and dad on the phone.
 Charles was asleep when I arrived but he did wake up to talk to me but it was hard to get any
 information of substance from him. He told me one thing and then told me another. His appearance
 is unusual in that he is sunburned and his pupils were pinpoint. He says he wants to be admitted
 and his mom says he always goes voluntarily but given his confusion and his going back and forth
 on the information, it seems that a TDO might be more appropriate at this time.
 His mom was able to give me more information. She said he was at Tuckers in late December of
 2022 but in the last couple of months he has been decompensating. She is not sure he was taking
 his medications and he is having 'brain fog', is easily confused and seems to have trouble retaining
 things in his short term memory. She says that in May, she came home and his girlfriend of five
 years had all her things packed up because he had suddenly broken up with her and told her to
 move out.
 She says he gets very anxious and he likes to drive to soothe himself but that he has lost the car
 three times in the last month and this past time, he lost it in northern Virginia and they have no
 idea where it is. She says she drove him around for hours last night and while they were driving, he
 started having a conversation with someone and laughing but she couldn't understand him because
 he was talking with his mouth closed. She reports too that he is restless and is not sleeping.
 She also reported that she thinks he is on Kratom which may be why his pupils are pin point
 tonight.
 At this time, he meets the TDO criteria and one will be obtained before his ECO runs out.


 Date/Time:            07/06/2023 02:00PM                                 Duration:        31
 Service:       RBHA Prescreen                                                          Service Status:     ECO
 Delivery Method:      Telehealth (audio/video)
 Electronically Signed by:         Baffoe, Marian, QMHP-A, LMHP-S
                 Provider OID:     6CFF9B491B3F48F0977D147121545F73                                   07/06/2023


Narrative:
 Received a call from Latmia regarding a bed placement for Charles.Individual got a bed at Tucker 3E(RM 354B)
 and the attending doctor is Dr Khalon.




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